 

§ s mm-~moooo-$or~om_§

 

 

 

  

 

 

 

  

m:\_ g mm ` c o>m ‘_mn_oacomcow._waum cm mw_m>> . `
Nom co`_wu_mu wo_._mu llmH\om\m \_E. mc=\:m._w m:o_w_.www$.*om_ mw>mm§mn~§umxm~m\_%c,rmg mm>mw> mm._.wc_c_m._ »ww > msmwm._ whme m_>__m 00 own w~ w NHON\¢\m mm
§ w m.§§.§ §§ § g w 3 _ z > _ §w>uu,=§§% FML_PMMY_,%YMU § § zw
. . . `
Nom E.Q__ou E>mn_ M md\m\w cEmuw>w mfc cht:%homcwc..uwwwm_mm W_r:.>w n u_>oW “wr_.p:%`_ uEwE >~E|: tm\_u `o:_mmu-mmmm> Nm._ m_>__m co com mm w NHON\oN\N em
?m w md.:oooo\§o ~om_m“: > m n
Ew_ Em m m c wm how m_.& m `_o m E :o_ mun m ‘_mw E m _mc ._ Eou .
Nom zum__ou E>mn_ w m._~\m\~ _uc_ ._EEmoE co:_cmouu~\_ mc_Hc_E“ Lu umwmuoh Hpm_~_a>w w@>mu~.m`_w mmE umw n om.__m`m.o.kmw> m3 m_>:m 00 ooo`mw w H._Ho~\>~\¢ um
§ w mH.HSOS.HS ~Om_§ m a m m
Em\_ 9 c c ouw`_ cm :_EE . `
Nom §m__ou E>mn_ l m.h\m\h tmE umm:uo» Ewu.w>_v. m 5 ucmc._ao_m>mu.u.wm 5a n_bmmv nEEmo\_L co_. ouwz\mw=.__mb H.Em m_>:m 00 000 wm w odom\m~\w am

 

§ w mH-HSOS.HSl~Qm_§
mem Ew__ou E>B l m<§ .~_._QE__E_…_»%§ mc_E_a `=§E§m§_ >>w_>wm,_mmm_ `_.QF_%EFB u=o>_wxw=_wwmww_;am»w .m§_mm>v\_ m_>__m S.Sm`w~ m moo~>~\~ mm

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l hwv.u\|>,aou.~wc_ usc 52 § cou _EEE 05 mc_ -F_:o §
61 w mH.HSSQ.HS ~om_§

 

 

 

 

 

 

 

 

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Nom Ew__ou E>mnM m.n\m\~ _E: >aou m_.___§o cBmmwww EL_F._F%" uquw_m .`w § _wcmo»umu_m E_.co_wmwm . \_w>m .._mm.¢nz m_>__m 00 com § w noo~\§\m now
32 m Q.SSS-HS Sm_m§ m a > m n .
c_ c: `E_ o :o m c _mm 2 mL .mco_m_>E cm . `
~om §m=ou E>ma M m.n\m\h m:EEu >aou\mc__.§o cu\_mmmv._ EmEou "_u:_ wu>.wfm:_:_m W__mpyw\_.mu_ w w::mm._&_ocowu_m m>.n.:mummn m_>:m 00 odd wm m woom\~._~\m \_oN
§§ .w md.§oooo.:o Nom_m": m
wco_w_>m`_ cm § § . `
Nom mtm__ou E>mQM md\m\w >acu `mc__~:o _._P_wm._ pcmu:ou J:o>m_\cm_mmu w>zmw\_u "_u:_ mu>w Uu_:m mc._:._mb >n Euu…wom m_>__m 00 com Hm m moo~\w\m uoN
33 w md.:oooo.._§o Nom_m": m a > m
l _.:c: cmE_ nom cmc_ww . `
~om m..cm=ou E>ma l md\m\h u_r_afo :o_m_>w~ \mctm:... >aou\mc__§o :EmmmE ~\c|m.~:ow n._uc_…..¢.u>m. cumc_mb_ me\_ >>.>>m m_>__m co oo~. mm w woo~\w\m now
Am: .w mH,:oooo.:o ~om_m“= :m_ww_o u>amm._u
~om mtw=ou E>mQM md\m\w ao_w>mu cuhmumm\_ `m_~E m:_:_mb m>n ao_w.>mu z .wab "_u:_ wu>m :Emoi m>n ::mE.~mor n_>_r m_>:m oo.omN`m~ w woo~\d\m oo~
§§ w mH.:oooo.:o ~om_m& 4 EE 3 §o>m_\cmmwmu qum\_w .wc 3 uaw mc~tm._u >aou\mmc=§o

 

 

Nom mtm__ou E>mo 1 m_¢.\m\w rtmeva Empcou u_u£ mu>w umw=__mE_._w _o;ou_m wE:m mcmth m>n HmEEmO cm%c_.~m_._c_.:,._ m_>:m oo.o~m_wH m moo~\v~\m co~
s s .~,SQSO.QS|~S_Y ,
Sm Em__$ E>mn l mS~\~H\>

hm.n.:oooo.:ol~om_mn: EE 3 p:o>m_\cm~mwv uEaSm “m:ov.m>mh nom mcmtm\i
mom E`m__ou E>mn_ l md\m\w >aou\mw£_§o 583me ..F_B:ou "_uE mu>m .`me:m u>m\wu§m mEEmb m>n.EEmoE mcm£mb l_Q=m...m.~_ m_>__m oo.ovo`m~ w moo~\m\m Eo~

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Am-SQQS-oSl~Om_§

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

d Nom E“m__ou E>mn_ l mHON\NH\N

P.v

_._¢ hde w Q.SQSQ.EO Sm_§ coi§oa gm §$v m_>__m . `

1 Nom §m__ou E>mn_ l mH\m\w uEnEm `Hso>m_ `_m:op_uw `>aou "_uc_ mu>m MEEmSa >~_n_w:on_w$ m> ao m>m .mc_Emm cm_nc_ 00 000 m~ m moom\w\\. _o~
OU GH d o._u.mooooo.~.ool~om_m": _m c m n _ mu.:`_n_Em m.._:m comuu:uo\_a _»aou `w>>£>»qmpc_ tmumsmm>\`_ cmtmn._umc._ mu>m

% Nom cmEbm EEUE l md\o~\m . ms EEB 550 muh:nwuo\_ Emt:u\wEBm w _._Emum`&\ o_w>wn.c: 9 Embu.mc_ >mE< m_>:m oo.oo~`wm w moo~\md\m ao~
#. mu._:om comparame om_m"_ mEmz ._ov:w> ~c:oE< mumo>:_ wynn mumo>c_ cum
.T.

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m oo.mwm_-o.m m _E_o._. c:m._w

w Oo.nom`NN._u m m_>:m wo coE>=u m _m_uw_>_m>mm

0 oo.ooo§ m u.: m%m_>_ m>mm

D oo.oB_mw\. m A__u._._ u_>_m; u._._ §§sz ms§_;_>_ B§>m

0 oo.hmm`wo¢ m .uc_ ww£>._mm u_._m>m

6 S.mS_m$ w h__m_>=m__v mwu_>$m m§$_a_>_ >E:E_ wm§>wm

U _Bo._. wEmz hov:w>

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. . - E_._mE>mn_ \_o_ucw> ~:w_:u:m\_"_
€ .

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._._m=._Xm
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258-1 Filed:

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1:

Case

 

3.303@.301~$._§
~Qm Ev__S E>E 1 355

w\_m>me cm mc__a€mm `B:umxm mcoam :o_»qmum._

`SULP_ mm cm_.v.m `>w>§m no w>wm d_dww.»:€ cwoom .wwcm Lm §om.m mhoou uc_ >cou m:_Emmcm_uE

 

.uc_ mmu_€wm Ew>m

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moo~\o~\~

 

 

23 .w 3-333-301~3_§
gm EU=B E>S 1 355

>m_am_u pusuo‘_a `m>o-uoo» S:uwxm z homeoqm _._onhwum: :cou m\_m_.c cmm.cm_mtmm w>_ o

.uc_ wmum>\_mm Eu>w

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3 w .~.SSS.Q~Q1NOM_§
~om §__8 E>S 1 3\3\5

3.338.301~§§
§ Em__S §§ 1 355

>W_am_u mci comcoam Eou m:_Emm :m_uc_ >>_>_

.uc_ mm£>._mm pcw>m

oo.§-€~

moo~\§\$

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55 w .~.3003.0~01~3_§
~Qm _E__S E>B 1 3\3\5

hmH.:oooo-._HolNom_m&
mem mdm__ou E>mn_ l md\m\w

55-388.031~3_§
gm >>B SES_>_ 1 333

Ew?_ww m_._m mc_ aEmm `>m_@mwu\mmo._a `m>m.noo.. w§uwxv H:oam amum: _uc_ …._._ -Eou 1_>0_& Df:_>_

.uc_ wwu_Emm ucm>m_

co.Oov`m¢

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§ w .§08.0~01§_§
gm cm§wm E~%E 1 3\3\5

§.333531§_§
gm =m§wm EEUE 1 350~\m

 

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`mcoam amqu `m»ww:m _ww _>m>.§m >mu d:~mm `..Em: cuban `mmcmtm >>ocm mLoou uc_ >menw c U,LE<

 

.uc_ mv£>._wm E m>m

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?-338531~3_§
553.388.301~3_§
mem §§ §§21 3\3\m

_ch._ o_u:m sami
__wm `m>mu m Ew>\_wm 63 ~co_B `c>>ou ._mwu.\a: umw £oon `>tma :Bv_uou-n_wum» cone _uE.wau

.uc_ ww£?_mm ucm>m

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3 w `~.388-0~01~3_§
~Qm EQ__S E>S 1 3\~<5

33 w 3-338-301~§§
gm Ew__ou E>S 1 355

EE _mcc 3 u:o>m_\:mmwv viame _uE m£:m m=u_.cu 55 w>n Em .comtmm£ .w >m_u um

§ QB_>_ §§

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F. w `N.SSS,Q~QMQQ§
gm Ew__$ §§ 1 3\~<5

3-_1.330-301~3_§
3m E@__S E>S 1 355

E.>ou 53
usm n_: umw fme mum>bm ._own `>m_a&u\wumam cuban _uE wu>m wo m:m >cou w£Emm _m£b §§

.uc_ mwu,>hww Em>m

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553 w 3.333.301~§§
gm Ew__ou §§ 1 355

3aqu `>m_am=u `mw»coam cm:£u _u£ do m:m af&omcoam >cou w_.:Emm _m£h >>_>_

.u:_ mm£>hmm ucw>m_

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33 m 31338.301~3_§
~om §w__ou _2>3 1 355

?.338301~3_§
25 w 53-338-@31~0.~_§
33 m=€£ §E§T 3\3\m

>wnm._uo£. consuwxv w ._omcoam\nmum._
`w._m>\_wm oqw_>_§`w so cm ` wm m m uc_ . m 26 wxmou 59 u>m

 

.uc_ mwum>._mm E m>m_

Oo.E~m`D~

Noo~\m\~

DDm

 

  

 

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mom Wu.m__ou E>mn_ l m.n\m\h

$.300000.301~0.~_§
A- w 53.388-301~9»._§
33 §§ §§21 m<w~\m

mEB_|m.On_ w m WE >>omm QEHFSDN xmou

m_>:m L.o comm. =u
m `m%w_>_m>mm

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v_v_m

 

 

33 w 3-338.301~§§
gm Em__ou E>B 1 3\@.\5

mw:_m>o_._ `_P_Bm__ou `m>m_am_c `E.oon wwu:_uc_ ._53~ >>ocm mpoc.§ upon

m_>__m wo co§>=u
m `m.__um_>_m>mm

oo.o.nm`mN

SQ~\~<@

_._.m

 

§§ w 3.338.301~2_§
~om Ew__ou 325 1 3\¢\5

uw._oc_.:. cme._: _o.>zw_p >~:m:u >_:_ §§ `m:oam~:mmma _Eamu:ou >Wu.wwnm_aam

m_>:m 50 comm. mn
m .m.um_>_w>mz

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coom\m\m

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553 w 3.333-301~0.5_§
Nom EQ__S _2>§ 1 355

B_m 3 uu::_o$:u _w mcmme mom uameE `Em._moha ._._z 5 _._onmu.cmmm:a »awucou _Emu ,6 ucm_M_

m_>:m 50 coE>=Q
m _m%m_>_m>mz

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oooN\m\m

>m

 

§ w 3-3003.301~9»._§
~Om Ew__ou 235 1 355

umw ma on l:~ cm mmc_\_:on
mc_c_§: m._u mm_¢uo%&um m :m:.,wm ao.m>mu

cm..E_mE m._ pmc_mmm mm:uo Em._mo&:_._mou\_
t n n 5 y EmE>_ so m\_ _wwom.oc_mmu-wmm >wm._

HEBm m tmi mv mmmmmm ~E:.>n mu_>o`_a nw :wc._wmmmwm

  

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§ w 3-3008-301~0~._§
gm Ew__ou _2>£ 1 3\&5

 

 
 
 

 

 

 

 

 

 

2021

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258-1 Filed:

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1:

Case

 

?mH gm md.._u._uooooé_;.ol~om_mn:
Nom mtm__ou E>mn_ | m.n\m\h

§ w 31338-531~3_§
~Qm §E§ _E§§ 1 333

   

_ _E >> pump >p.…___w%mwmc

.. § m\_omcoa co_ awu~t `m on oha 5
_m_oz cum&.,m@mwkwwmm&»m%w: curmw.mmmc _w z.ww_._cmn¢u.om%oan my _. m“_ tow wm

u._._ Z_>_m

oo.omm`m.v

hoo~\._u~\m

cmN

 

 

33 w 3-383-301~3_§
gm Em__§ §§ 1 355

§ w 5-§88.3@1~3_§
~Om >>B §§§_ 1 3\&@

ucmEno m>mu ~wm:m _._mm `o¢ yca m m m cab o_ 3m _:>>Emm~\n_: umw Eoon DQD_>_

 

013 Z_>_m

oo.ooo`m¢

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53 w 3-338-301~3_§
~Om Em__§ §§ 1. 355

>da£m ~u:muo.&
scm 02 a__h_mhom:oam ucm._m.h._w:?_n 55 5 19 mhomzoqm muc?_£cou o who no cc xo1_

u._._ Z_>_m

Oo.ooo`NH

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33 w 3.338.301~0.¢._§=
~Qm Em__ou §§ 1 355

_.w¢m_mzm~o~___ ..Eoz qm§_n§mm
ucm>m_n_w_c U_._ o._a~w>m m~:P_ 13 9 W_omcon_w_:o._wa cm Lm cm ._ma m>_._b.Eou _>_s

 

u._1_ Z_>_m

oo.ooo`m~

noo~\w~\m

v_mN

 

 

33 w 3.3§3.301~3_§
Nom E§S §§ 1 355

01_1_ z_>_m

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hoo~\mm\m

33

 

JZLLZMMDI nn _ DZ“ m am_m uu: O._Q Cm wm Q_ mgOmr_OQm w.__qu.O.* kur_U\_U:._Ou _>_5 wDCJOI _u_._m XO._

 

33 w 31388.301~$._@“;
~Om Ew__ou §§ 1 355

>m_am% pu:no._a nom w£ afm`_omcoam wm§_u£ 1v_umn§o a>~ afm»owcoqw P_Bmo"_

u._._ Z_>_m

QO.QOQ_NN

woo~\m~\m

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33 w 3.388.301§_§
Nom Em__§ §§ 1 355

m_._=quw uaw >m_a&u Fu:uoi
.coa.:umxw ucm a_ P_omoconm m:o_ count 1wN_._E mu:Em cou HcmEEde§ _m~o_

u1_1_ Z_>_m

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§§ w 3.3030.3@1~2_§
~Om Em__ou §§ 1 355

W_w?_wm m_._:aEmm .>m_am:u S:_uoi `com..§umxm w homcoam cocawuw._¢:ou mEc._mm cm=uc_ _~z

u._._ Z_>_m

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33 w 3-388.301~§_§
3m Ew__§ §§ 1 355

?.SSS.OSJOM_W;
h53.338-m31§m_§
mem §§ §§2 1 3\3\m

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`>tma __md_uou mwg_wm_ co_wamum: mc_:mao ` m cmt o_ am `cwso mmm~. Lr umw ~.onwn AEo_ch..w.wv>co“w xv._ou

 

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33 w 31333-301~2_§
. 3m EQ__S §§ 1 355

:~ w 3.338.301~3_§
~Qm sam §§ 1 5§~\m

` W_w>hwm%:m mc__aE§
>m_av._u U:moi d_c£omcoam connoqu m>w lmEP_m chw._whcou b w c_m:FPm|mm m mmmw:_ >n:z

u._._ Z_>_m

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33 w 3.333-301~§§
gm Ev__$ §§ 1 3\@\5

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33 w 31338-301~3_§
gm Em__ou §§ 1 3\@\5

Ew>»wm z m_._:aEmm `>m ami dauth `:on.:umxw uaw a_r_&omcoaw co_Ewum:.Eou 1_>._°_§ 305_>_

>m am_m wu:moi w wm., a_cm\_o&oqm-m-i m_n§u::oz

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§§ w 3-333-301~§_§
gm 528 §§ 1 355

§ w 3.§38-581~§_§
~om §§§ E§§ 1 3\0~\m

>EHLW uou uc_ amum: mc_cwao.a_ fewean >>o_._w mbmt¢m:_m>mc._<

01_1_ Z_>_w

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33 w 3-333-301~0.“._§
~om Ew__§ §§ 1 3§5

$.SSS.QSAQQ§
S~ w 53.338.§01~$._§
mem mm_a§_§§mT 3\3\m

` conawqu >m mc_cwuo
+ W>w.u£ Em?_mm §ch o_u:m JWEW_ § ma v :m_mw: 1ao w>w_u _Esou 1_$~>.5 pmm c ooa xwou

.uc_ mwu.>._mm ucm>m

oo.oom`§~

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Em

 

33 w 3-338.301~0.5_§
Sm Em=ou §§ 1 35@\5

a w m-§§oo.§o1~@m_m5
gm §§mm_>_ §§ 1 3\3\~

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`wo~oca Lo_ou v >> mu=im._m cm_mwu `>aou metz `mc__~:o cu\_mmm?_ 325 _~c.mu_: mmwnw aa

B._ m_€_>_ §§

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3 w _N.SSS.O~Q1~S_§
~Om Em__ou §§ 1 30~\~3\5

 

 

 

 

 

 

 

2022

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258-1 Filed:

15-cr-00260 Document #

1:

Case

oo.mwm.-o`~

 

 

§§ dw md.:oooo.:o\~om_mi
mom bu.w__ou E>mn_ l md\m\h

?-8003,301~$._§
§ w 53-338.§01~§_§

 

 

 

 

 

 

 

 

 

 

 

 

`m a §§

 

 

 

 

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83 m 3-3§8-301§@§
mom §m=ou E>mn l md\m§
A.EH .w h,wocooo.o.nol~om_mu: u:ovcmr `mconuw._%.mczc:a _
Nom >>m._ m:Eco_>_ l mH\m\w .~mm;w\_._Wm\kuE :wao `w>muiECFw_U `Esom._mww.mppmm §§ch cuoon.mcoqm 56 SA._D_>_ uj z_>_m codon m¢ moo~\m\~ um~
33 .w 3.388-301~3_§
NOm muum:OU E>ND l m.n\m\h mcm_urr_mm U_._N >N_Qm=u wu§_uO._Q \S “UN_.._OL£ wCOu _>_mv1mufwrr_< n_mm U»_l_ Z§m O0.000`m.V WOON\HH\O mMN
83 w 3.383.3¢1~§§
Nom mtm__ou E>mn 1 ma\m\~.
3m d 0H1mooooo-~.oo|mom_mi
~om cm:.:wm _P_m;u& l md\o~\m :o_~awum`_ `Bu:uo`_a k_w _E >> w:_ ac._mm `wwm:w_m Lwccmn `u\_oou ucm>m.m:oamwmw"mwmm%m u._._ z_>_m oo.oom`w¢ woo~\:\m ._m~
A53.w 3.338,301~3_@“;
gm Em__ou §§ 1 355
a w 5.§33.03 Sm_§ %2_33 233 >_S § 533 `
~om >>B w:u_co_>_ l mH\m\w H `SES `_Eo= amc dog _uc_ mpch P_BE E>>om hmww\a: 3m §§ wmc:o_ :nExm .305_>_ uj z_>_m oo.oow mv woo~\w~\~ cm~
33 .w 3-388-301§2§
Nom Em:ou E>mn l md\m\~.
am w 3.338.531~§§ §§ §§ ~ `S_t§ :Bm£
~om cmE._wm _P.m;uE l md\o~\m d£>_ `m~__ amnEm:a __E `>tma __m§uou.uawu\@l~_m>> “mu~c._ Lw~c_>>o_c._ 1._owconm pmc_m>m_.c< u._._ 255 oo.oom§m woo~\v~\~ umw
33 w 3-338.391~§_&,
Sm _sw__§ §§ 1 355
?»Hooooo.odolmom_mu;
3 d 53.383-@81~3_§
m~om w=?_m._. §t:cm_.l m.n\w~\m u_c._: mmmm;wzwmw_,uhmwmn cop._mn%dm_m~mmzwmm%&m~w~rwz“ u»_._ z_>_m oo.o~m_w¢ woo~\>~\~ om~

:on::aw ou.wcw `m mo aEw

 

 

 

 

